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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :    CASE NO.
                                                 :
 BENJAMIN COLE,                                  :
                                                 :    VIOLATION:
                         Defendant.              :
                                                 :    18 U.S.C. § 231(a)(3)
                                                 :    (Civil Disorder)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, BENJAMIN COLE,

committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer lawfully engaged in the lawful performance of his/her official duties incident

to and during the commission of a civil disorder which in any way and degree obstructed, delayed,

and adversely affected commerce and the movement of any article and commodity in commerce

and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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                                  Respectfully submitted,

                                  MATTHEW M. GRAVES
                                  United States Attorney
                                  D.C. Bar No. 481052



                           By:    _________________________
                                  Melanie L. Alsworth
                                  Ark. Bar No. 2002095
                                  Trial Attorney, detailed to the
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